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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

1) JARED DROZE and                       )
2) MATTHEW REYNA,                        )
                                         )
            Plaintiff,                   )
v.                                       )
1) ALLIANCE HEALTH                       )
   SOUTHWEST OKLAHOMA                    )
   LLC;                                  )
                                              Case No. CIV-19-00175-D
2) MANGUM CITY HOSPITAL                  )
   AUTHORITY DBA MANGUM                  )
   REGIONAL MEDICAL                      )
   CENTER; and                           )
3) QUARTZ MOUNTAIN                       )
   INVESTMENT LLC,                       )
                                         )
            Defendant.                   )

    DEFENDANT ALLIANCE HEALTH SOUTHWEST OKLAHOMA LLC’S
       DISCLOSURE STATEMENT IDENTIFYING CONSTITUENTS
                    OF LLC OR PARTNERSHIP

      Pursuant to LCvR 7.1.1, the undersigned counsel of record for defendant, Alliance

Health Southwest Oklahoma LLC (“Alliance Health”), hereby provides Alliance Health’s

Disclosure Statement Identifying Constituents of LLC or Partnership.      Specifically,

Alliance Health is a Delaware limited liability company whose members are: Praxeo

Health LLC, Alliance Management Group LLC and Greenfield Resources.



                                         Respectfully submitted,

                                         s/ Mary P. Snyder
                                         Adam W. Childers, OBA #18673
                                         Mary P. Snyder, OBA #31427

                                         -- For the Firm --
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                            MOUNTAIN INVESTMENTS LLC




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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of May, 2019, I electronically transmitted the
attached document to the Court Clerk using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the following ECF registrants (names only are sufficient):

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                                            s/ Mary P. Snyder
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